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EXHIBIT D

 
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00045
i Q. Have you ever looked at schoot board minutes

2 before?

3. A. Na, sir.

4 Q Okay. Having taken a second to look at the school
5 board minutes, do you recall now whether at that meeting
6 there was any discussion concerning cither the --

7 A. That may have been the meeting — it was either the
8 last mecting in June or else this meeting in July that Bert

9 Spahr was so upset. I don't really recall. Now that I

10 know -- [see this that I was there the 12th.

11 Q Okay. That's fine. So, correct me if fm — if]

12 say anything incorrectly, just let me know. Let me just try
13 aud put this back together. {t sounds to me like your

14 recollection is that the last school board meeting you

15 attended prior to the October meeting was when Ms. Spahr
16 spoke her concems?

17 A. That's when she was so upset

18 Q > And other than that, you don't recall anything else
19 at any of these meetings prior to October?

20 A. No. That onc was a litte bit — going a little

21 bit rough.

22 Q What do you mean by, "going a little rough"?

23. A Well, they got upset with cach other, you know,

24 some of the - Ms. Spaby’s said her ~ what she thought and

25 then some of the -- | know Alan Bonsell was upset with ber

Jane Cleaver 6/9/05 Page 48

00047
1 whenever it was ~ I understand that you're a little bit

2 unclear with which date, which is fine. At that time, were
3 you aware of a book entitled, Pandas and People?
4 A. Yes, sir
5 Q. And how were you made aware of this book?
6 A. Because the ~ I don't know how Mr. Buckingham got
7 this book, but that's bow — 1 had asked Mr. Buckingham if be
8 had the book, I would like to sec it, And so he gave me the
9 book. And I did not read it page for page. But the book,
10 Pandas and People | felt was — should not be taught or it
11 shouldn't be taught at all. But if a smdent wanted to
12. pursuc another theory, that maybe it could be available, that
13 that student could look at that book but not be taught.
14 Q. How was it that you became aware that Mr,
15 Buckingham had this book, Pandas?
16 A__ Because of — it was through Mr. Buckingham that he
17 had mentioned this book. And I don't know where he got this
18 book. I have no idea at all.
19 Q_ Do you recall when it was that be mentioned to you
20 the book, Pandas?
21 A__It was probably some time in — that had to be in
22 July.
23 Q. Prior to the schoo! board mecting?
24 A. Yeah, that had to be.

25 Q. And then you stated that you got a copy of the book

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00046
1 because of the way that she spoke. But it was just a tittle

2 bit of commotion there. They just didn't get along too well.
3. Q Do you remember how Mr. Bousell responded?

4 A. No, (don't. I can't say the words that Mr.

5 Bonsell said. But I do know that anything that Mr. Bonscil
6 said, be thought everything through before he ever spoke.

7 Q Do you recall what it was specifically about what

8 Ms. Spahr said that upset Mr. Bonsell?

9 A. She was terribly upset because she thought they

10 were not getting the new biology book, and Mr. Bonsell,

11 that's when be said he would have to look into it further

12 defore he would give consent or we voted on this, would take
13 a vote on it, that he wanted wo make sure we got the right

14 book

15 Q Andby, “right book," were you aware of whether

16 there was discussions of using any other textbooks at that
17 time?

18 A. Not that I recall, sot at that — yes, there was.

19 On that July meeting, that is [ think when that — f think is
20 when the book of Pandas and People or whatever, getting
21 another book. And Ms. Spahr thought that she was going to
22 have tw teach another theory or something like that, But Dr.
23 Nilsea and Alan both reassured her that they would not be
24 teaching the students any other theory.

25 Q Had you at this time in the July mecting or

Jane Cleaver 6/9/05

90048
1 from Mr. Buckingham?

2 A. Idida't get a copy, he gave me the book. And I

3 read the book, and gave it right back to him.

4 = Q You stated that you didn't (cel that the book

5 should be taught in school.

6 A. No. Itshould not be taught in school.

7 Q What was it about the book that you felt should not
8 be taught in school?

9 A In the first place, the book I felt should not —

10 from the 9th grade to 12th grade student might understand
11 some of it, but uot anyone -- not students younger than that.
12 And again, it’s just another theory. So — but I felt that

13 our students deserve the opportunity if they wanted to pursue
14 anything, there is so many different theories out there, that
15. they should have another book if they wanted to look at it
16 Q Okay. You're referring to other theories. What do
17 you mean when you're saying, “other theories?"

18 A. Well, there are — the word, “creationism” was

19 brought up. Well, creationism, { don't believe should ever
20 be taught in school. And they had no intentions of teaching
21 creationism.

22 Q When you say the word, “creationism” was brought
23 up, who do you mean brought it up?

24 A. That was when Bert Spabr was up and said that we

25 were going to teach creationism.

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00049
t Q. And in your recollection this was in the same july

2 meeting?

3 A. (Witness nodded head.)

4  Q Do you recall how anyone responded to Ms. Spahr's
§ statement that she felt they were going to be asked — “they”
6 being the teachers, were going to be asked to teach

7 creationism?

8 A. She - in Ms. Spabr’s mind, [ think what happened,

9 she was so sure that this is what they were going to be asked
10 to do, but she was reassured by Alan Bonseil and Mr Nilsen
11 that they would not be asked to teach any of this, they are
12 not going to be teaching any other theory. But if the book
13 is available for the students, that's the only thing that -

14 that is the only thing that I was concerned about, giving our
15. students another opportunity if there was a different theory
16 out there that they want to look at, that they have that

17 oppornunity.

(8  Q. When you say, “other theory,” am I correct in

19 saying that you mean as opposed to evolution?

20 A Yes.

21 = Q. Okay, Did you ever consider — you said there's

22 several other theories out there. What other theories do you
23 understand are out there other than evolution?

24 =A. Well, 'maot a scientist, by far. And I don't

25 know. But I feel there is something else out there. There's

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00051
iQ _Is there any reason why evolution presented a

2 problem to you?

3. A. Yes, itis. Because I just have the feeling that

4 there's something else out there. [ certainly don't believe

5 there's never been a proven fact with evolution in evolution.
6 There has to be something out there, there has to be other

7 theories there that our students can be made aware of, And
8 if they‘te not taught, it's fine; but if the books are

9 available, that's what should happen.

10 Q. Okay. So at this time during the July meeting,

11 what was your understanding of what the school board wanted
12 from the science teachers with respect to the teaching of

13 other theories?

14 A. The school board asked nothing of the teachers as
15 far as teaching the students any other theory. The only

16 thing the school board asked was that the teachers would be
17 wilting to bave a book there that the student if they wanted
18 to could pursue another theory, could look at it

19 Q > Now, when you had spoke earlier about your review
20 of the textbook, Pandas, do you recalt what theory, if any,
21 was presented by Pandas?

22 A. No, [don't And I'm going to say this to you

23. For me, it was a little hard, | would have had to take time
24 and sit down with that book and really read it in order to

25 get anything out of it. Because | know nothing about —

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Tether —I feel, Chris, that if our students only have one

2 theory being taught to them, that theory soon becomes a

3 fact because that's the only theory that student knows. Why
4 not give that student the opportunity ~ there's other

§ theories out there, and [ surely can't name them, as | said,

6 T'm not a scientist. But I think there's some — should be

7 some research done on that to give our students the

8 opportunity to lear if they want to.

9 Q. Were there any other science theories other than

10 evolution for which you felt the students should be exposed
11 to alternatives?

12 A. No. [couldn't name one. Because as! said, I

13 know there's others out there because we certainty have the
14 greatest scientists in world, so there's other theories

15 there.

16 Q Okay. But let's say, okay ~ and I'm not a

17 scientist, cither. I can't speak for these two here,

18 probably there's no scientists; we're probably all on about
19 equal ground here. There's several different theories taught
20 in scieuce classes, nuclear theory, evolutionary theory.

21 Evolutionary theory is one theory that's taught, then there's
22 other theories that have vothing to do with evolution that
23 are also taught. Did you have issue with any other theories
24 taught in science classes?

25° A. No.

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00052
1 about the book as far as that. I knew nothing. And the

2. book -- that’s why I said a student from the 9th to the 12th

3 grade would probably be able to understand it better than

4 what I would, truthfully.

S$  Q Other than your concem with the fact that the

6 textbook may be hard for some students to understand, did you
7 have any other concems with respect to the textbook?

8 A No.

9 Q And by, “textbook,” I'm referring tw the, Pandas

10 textbook?

tl A. No. No, sit, [ should say.

12 Q So we're in July and you understand that this is —

13 you had not too much previous to this July meeting become
14. aware of this textbook, Pandas, you reviewed the textbook and
15 Ms. Spahr had a few things to say at the schoo! board.

16 mecting, and this was the last school board you attended

17 prior to the October meeting?

18 A. Correct.

19 Q. Let's move ahead, then, to October. I have a date
20 in front of me as October 4th for that school board meeting.
21 Does that sound right to you?

22 A. Yes, sir.

23. Q._ Do you recall anything occurring in that October
24 4th school board meeting with respect to the biology

25 textbook?

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00061
1 down as donors of the textbook. Do you recall that?

2 A. twas asked if 1 would be -- if | would be willing

3 to have those -- if - not -- [ was not going to be a donator
4 of the book. no, that's wrong.

5  Q Okay.

6 A. [was not giving one penny towards that book. But
7 ifthey — if someone was donating it. 1 had no objections.
8 Q Okay So. you didn't volunteer to donate books.

9 but rather you stated that you had no objection if someone
10 else were to donate these books”

UW A. Correct

12. Q Okay. Understood. Now. according to Mr. Brown. at
13 least one of these discussions occurred in August. Do you

14 recall having any of these discussions in August?

1S MR. WHITE: August of whal year?
16 MR. LOWE: August of 2004.
U7 THE WITNESS: No. sir. | was not there.

18 BY MR. LOWE:

19 Q_ This was when you were in --

20 A. (Witness nodded head )

24 Q Okay. So, between the June meeting when -- after
22 you had reviewed the textbook, Pandas. and coming back in
23 October, you don't recall having any discussions with respect
24 to. Pandas?

25 A. Notatail.

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00063
1 final meeting in October where you voted to pass the change

2 in the biology curriculum?

3. OAL Yes.

4 = Q  Butat this time you don't recall there being a

5 statement thal the teachers were going to be asked lo read to
6 the class?

7° A. No, sir

8 Q. And do you remember any discussions with respect to
9 the change in the curriculum thal may have ~ had the change
10 be very similar lo what you have in front of you which again
It is Page 14 of the Complaint, Paragraph 33, but with the —
12 with the removal of the term, intelligent" design?

13 MR. WHITE: I'm confused. Can you ask the question
14 again?

15 MR. LOWE: Then it must have been a confusing

16 question.

17 BY MR. LOWE.

{8 QQ. Was there any discussion to changing the curriculum
19 ina way that intelligent design wouldn't be included in the
20 change?

21 A. My understanding was that intelligent design would
22 not be used in the curriculum at all.
23 Q> Was il your understanding that intelligent design

24 would be in the wording of the curriculum as it is here?

25 A. Na.

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00062
1 Q. Okay. We're getting there. We are just about

2 done. I'm going to ask a general catch-all statement, but [
3 think this might help to bring a close to your recollection

4 of the meetings Please correct me if I'm saying anything

S. that you don't believe is completely accurate, and if you

6 want to correct me, too.

7 A. Okay.

8  Q My understanding, then, at this time is that other

9 than the limited statements made by Ms. Spahr concerning —
10 I'm going to write this as t'm saying it because 1 want to

11 make sure 1 get it right -- concerning the fact that she

12 felt, first. that they may not be receiving biology

13 textbooks. also that she was concerned with something the
14 teachers may be required to read in class, and finally, a

15 conceming she may have had with respect to teaching

16 creationism early on. Do you recall anything else being
17 discussed with respect to the biology text or the biology
18 curriculum?

19 A. No, sir.

20 Q Okay. At this point I have that those are your

24 three basic concems, and [ know that we may have talked
22 about those in different ways But it sounds to me -- I'm
23 just irying to summarize. Then moving to the final mecting
24 in October, and once again, I understand that you're — the

25 meetings may blend a litte bit to you, but was it in the

Jane Cleaver 6/9/05

00064
1 Q. So, your understanding was that there would be no

2 mention of intelligent design?

3. A. No. Intelligent design was nol going to be

4 mentioned.

5 Q > Would you have voted for a change in which

6 intelligent design would have been mentioned?

7 MR. WHITE: Can you clarify what you mean by.
8 "mentioned"?

9 BY MR. LOWE:

10 Q._ In which intelligent design would have been

HL included in the curriculum?

12 A. Truthfully, 1 don't know what intelligent design —
13 what theory that would be. To me, it's some kind of a

14 scientific theory, and I don't understand it, So no, [

1S wouldn't not have voted.

16, -Andbthat's sctuaily going to bring me into my last

tee

17 Hige ‘questioning, so welt

     
   

 

 

31 a sign stands (or. What theory it evel”
22 ‘deters becanse | don't know who came up with those (wo
23 Words. tm ‘Nol a scientist, so | cannot give you an answer

24 ‘on ahat.

25 (Q ‘Okay. Bedire passing the resalution to change the

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00045
t Q Have you ever looked at school board minutes
2 before?
3. A. No, sir
4 Q Okay. Having taken a second to look at the school
5 board minusrs, do you recall now whether at that mecting
6 there was any discussion conceming either the —
7 A ‘That may have been the meeting — it was cither the
8 last mecting in Junc or cise this mocting in July that Bert
9 Spahr was so upset. I don't really recall. Now that!
10 know — T see this that { was there the 12th.
1b =. Okay. That's fine. So, correct me if Tm ~ if 1
12 say anything incorrectly, just let me know. Let me just oy
13 and put this back together. Tt sounds wo me like your
14 recollection is that the last schoo} board meeting you
15 attended prior wo the October meeting was when Ms. Spahr
16 spoke ber concerns?
17 A That's when sbe was so upset.
uw Q ‘And other than that, you don't recall anything else
19 at any of these meetings prior w October?
20 A. No. That one was a little bit -- going a tittle
21 bit rough.
22 Q._ What do you mean by, "going a little rough”?
23 A. Well, they got upset with each other, you know,
24 some of the ~ Ms. Spahr's said her — what she thought and
25 then some of the — 1 know Alan Bonsell was upset with her

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00047
1 whenever it was — 1 understand that you're a little bit

2. unclear with which date, which is fime. At that time, were

3 you aware of a book eatitied, Pandas and People?

4 A Yes, sir.

5 Q And how were you made aware of this book?

6 A. Because the — 1 don't know bow Mr. Buckingham got
7 this book, but that’s how — I had asked Mr. Buckingham if he
& had the book, I would like to see it And so he gave me the
9 book. And 1 did not read it page for page. But the book,

10 Pandas and Peoptc I felt was — should not be taught or it
Ji shouldn't be taught at all. But if a student wanted t

12 pursue another theory, that maybe it could be available, that
13. that stadest could look at that book but not be targht.

4 Q How was it that you became aware that Mr.

15 Buckingham had this book, Pandas?

16 A__ Because of — it was through Mr. Buckingham that he
17 had mentioned this book. ‘And I dou't know where be got this
18 book I have no idea at all.

9° Q Do yoo recall when it was that be mentioned to you
20 the book, Pandas?

23 A it was probably some time in — that had to b= in

23 Q. Priorto the school board mecting?
24 =A. Yeah, that had to be.

1 because of the way that she spoke. But it was just a little
2 bit of commotion there. They just didn't get along too well.
3 Q Doyou remember how Mr. Bonsell respouded?

4 ~~ A. No, Idon't I can't say Ge words that Mr.

5 Bonsell said. But | do know that amything that Mr. Boascll
6 said, be thought everything through before be ever spoke.
7 @ Do you recall what it was specifically abowt what
% Ms. Spal said that upset Mr, Boascit?

9 <A. She was terribly upect because she thought they
10 were not getting the acw biology book, and Mr. Bousell,
11 that’s when be said he would have to look into i farther
12. before be would give consent or we voted on this, would take
13 a vote on it, that be wanted to make sure we got the right
14 book

15 Q Andby, “right book,” were you aware of whether
16 there was discussions of using any other textbooks at that.
17 time?

18 A. Notthat | recall, not at that — yes, there was.

9 On that Jely mocting, that is | think when shat — |} shink is
20 when the book of Pandas and People or whateves, getting
21 smother book And Ms, Spahr thongh! that she waa going to
22. have to teach another theory or something like that, But Dr.
23 Nilsen and Alan both reassared her that they would pot be
24 teaching the students any other theory.

25  Q Had you at this tame in the July meeting or
—

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00048
1 from Mr. Buckingham?

2 A I didn't get a copy, be gave me the book. And I

3 read the book, and gave it right back to him.

4 ~— Q >You stated that you didu't fee! that the book

5 should be taught in school.

6 <A. No. It should sot be taught in school

7 Q ‘What was it about the book that you felt should not
8 be taught in school?

9 A In the fst place, the book I felt should not —

10 from the 9th grade to 12th grade smdent might wnderstand
11 some of it, but not anyone — not stedcats younger than that
12 And again, its just another theory. So ~ but J fck that

13 our students deserve the opportunity if they wanted to pursuc
14 anything, there is so many different theories oul there, that
15 they should have smother book if they wanted to look aliigoef
16 Q. Okay. You're referring to other theories. ‘What do
17 you wean when you're szying, “other theories?"

18 A. Well, there are — the word, "creationism" was

19 brought up. Well, creationism, | don't believe should ever
20 be taught in school. And they bad po imtcotions of teaching
21 creationism.

22 =Q._ When you say the word, “creationism” was brought
23 wp, who do you mean brought it up?

24 A. That was when Bert Spahr was up and said that we

 

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a

23 = Q. And then you stated that you got a copy of the book

ve

25 were going to teach creationism.

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00049

1  Q And in your recollection this was in the same July
2 mecting?

3 A. (Witness nodded head.)

4 Q Do you recall how anyone responded t» Ms. Spa's
5. statement that she felt they were going to be asked — “they”
6 being the teachers, were going to be asked to teach

7 creationism?

8 A. Sbe-in Ms. Spabr's mind, J think what happened,
9 she was so sure that this is what they were going to be asked
10 to do, but she was reassured by Alan Bonsell and Ms. Nilsen
ib that they would not be asked to teach any of this, they are
12 not going to be teaching azy other theory. But if the book
13 is available for the students, that’s the only thing that —

14 that ix the omly thing that I was concerned sbout, giving oar
15 students another opportunity if there was a different theory
16 owt there that they want to look at, that they have that

17 opportanity.

1 Q When you say, “other theory,” am I correct in

19° saying that you mean as opposed to evolution?

20 A Yo.

21 Q Okay. Did you ever consider — you said there's

22 several other theories out there. What other theories do you
23 understand are out there other than evolution?

24 A. Well, Tmaot a scientist, by far. And I don't

25 know. But feel there is something cise out there. There's

Jane Cleaver 6/9/05 Page 52

! ' Q Is there any season why evolution presented a

2 problem to you?

3. A. Yes, itis. Because | just have the feeling that

4 there's something cls¢ out there. I certainly don't believe
§ there's never been a proven fact with evolution in evolution.
6 There has t be something out there, there has to be other
7 theories there that our students can be made aware of And
8 if they're not taught, it's fine; but if the books are

9 available, that's what should happen.

ao

x

“. nae
10 Q Okay. So at this time during the July meeting, j
1} what was your understanding of what the schoo) board wanted
12. from the science teachers with respect to the traching of
13 other theories?

14 A. Theschoo! board asked nothing of the teachers as
15 far as waching the students any other theory. The only

16 thing the school board asked was that the teachers would be
7 willing tp have a book there that the student if they wanted
18 to could pursue another theory, could look at it

yp Q Now, when you had spoke carlier about your review
20 of the texthook, Pandas, do you recall what theory, if xny,
21 was presented by Pandas?

22) «A No,I dont. And Pm going to say this ip you.

23 For me, it was a little hard, ] would have had to take time
24 and sit down with that book and really read it in order to
25 get anything ont of it Because 1] know nothing about ~

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00050.
1 other ~ I feel, Claris, that if our stedents only bave one
2 theory being taught to them, that theory soom becomes 3
3 fact becanse that's the only theory that studest knows. Why
4 not give tbat student the opportunity — there's other
5 theories out there, and I surely can't name them, as | said,
6 Tmanot ascieatist. Bat | think there's some — should be
7 some research done om that to give our stadeats the
} 8 opportunity to leare if tey want to. snare
~~; Q. Were there any other science theorics other than
10 evolotios for which you felt the stadents should be exposed
1 to abernatives?
12 A. No. Ecowkda't name ove. Becanse as I said, I
13. know there's others out there because we certzinly have the
14 greatest scientists in world, so there's other theories
15 there.
16 Q. Okay. But let's say, okay — aed I'm nota
17 scientist, either. | can’ speak for these two bere,
18 probably there's uo scieatists, we're probably all on about
19 equal ground here. There's several differeet theories taught
20 in scieace classes, nuclear theory, evolutionary theory.
21 Evolutionary theory is one theory that's taught, thea there's
22 other theories that have nothing 1 do with evolution that
23 are also taught. Did you have issue with any other theories
24 taught in scicuce classes?
25 A No.

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00052

1 about the book as far as that. I knew nothing. And the

2 book — that's why 1 said s student from the 9th w the 12th
3. grade would probably be able to understand it better than
4 what I would, truthfully.

5  Q Other than your concer with the fact that the

6 textbook may be hard for some students to understand, did you
7 have any other concems with respect to the textbook?

& A No
9 Q Andbdy, “textbook,” I'm referring to the, Pandas
10 textbook?

vv A. No. No, sir, ] should say.

12, Q > So we're in July and you understand that this is ~
13 you had not too muck previous to this July meeting become
14 aware of this textbook, Pandas, you reviewed the textbook ang
15 Ms. Spahr had a few things to say at the school board

$6 meeting, and this was the last school board you aticaded
17 prior to the October mecting?

18 A Comect.

19 Q Lets move ahead, then, to October. 1 have 2 date
20 in front of me as October 4th for that school board meeting.
21 Does that sound right to you?

22. «A Yes, siz.

23 Q_ Do you recall anything occurring in that October
24 4th school board meeting with respect to the biology

25 textbook?

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00061
{ down as donors of the textbook. Do you recall that?

2. A I was asked if | would be — if] would be willing

3 to have those ~ if — mot — 1 was not going to be a donator
4 of the book, no, that's wrong.

5 Q Obsy.

6 <A. Swas mot giving one penny towards that book. But
7 if they ~ if someose was dooating it, | had no objections.

8  Q Okay. So, you didn't volunteer to donate books,

© but rather you stated that you bad no objection if someone
10 else were to donate these books?

tt A Correct.

12 Q Okay. Understood. Now, acconding to Mr. Brows, at
13 least one of these discussions occurred in August. Do you
14 recall having any of these discussions in August?

15 MR WHITE: August of what year?

16 MR. LOWE: Angust of 2004.

17 THE WITNESS: No, sir. I was not there.

18 BY MR LOWE:

19 Q. This was whes you war ip ~

20 A. (Witness nodded head.)

21 Q Okay. So, between the June mecting when ~ after
22 you bad reviewed the textbook, Pandas, and coming back in
23 October, you don't recall having sny discussions with respect
24 to, Pandas?

25° A Notatall

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1 final meeting in October where you voted to pass the change
2 im the biology curriculum?

3. A Yes.

4 =~ Q._ But at this time you don't recall there being a

5 statement that the teachers were going to be asked to read to
6 the class?

7 A No, sir.

8 QQ Anddo you remembcr soy discussions with respect 10
9 the change in the curriculum that may have — had the change
10 be very similar to what you have in froat of you which again
I is Page 14 of the Compiaizt, Paragraph 33, but with the —
12 with the removal of the term, intelligent” design?

13 MR. WHITE: I'm confused. Caa you ask the question
54 again?

is MR. LOWE: Then it must have been a confusing

16 question.

17 BY MR LOWE:

18  Q > Was there any discussion t changing the curriculum
19 ina way that intelligent design woukin't be inchaded in the
20 change?

21 A. My understanding was that intelligent design would
22. not be used in the curriculum at all.

3B Q ‘Was it your understanding that intelligent design

24 would be ia the wording of the curriculum as it is here?

2 A No.

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00062
1 Q Okay. We're getting there. We are just about

2 done. Tem going to ask a general catch-all statement, but I
3. think this might help to bring a close to your recollection
4 of the meetings. Please correct me if Tm saying anything
5 that you don't believe is completely accurate, and if you

6 want to correct me, 100.

7 A Okay.

8 Q My understending, then, af this time is that other
9 than the limited statements made by Ms. Spabr concerning —
10 Tm going to write this as I'm saying it because | want 10
11 make sare | get it right — conceraing the fact that che

12 felt, fast, that they may not be receiving biology

13 textbooks, also that she was comcermcd with something the
14 teachers may be required w read in class, and finally, a
15 conceming she may have had with respect to teaching

16 crestionism carly on. Do you recall anything else being
17 discussed with respect to the biology text or the biology
18 curricula?

19 A No, sir.

20 = Q Oksy. At this poimt] have that those are your

21 twee basic concerns, and | keow that we may have talked
22 about those in different ways. But it sounds to me — Tm
23 just trying to summarize. Then moving to the final meeting
24 im October, and once again, | understand thal you're — the
25 mectings may blend a little bit to you, but was it in the

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00064
1 = Q > So, your understanding was that there would be no

2 meation of intelligent design?

3. A. No. Intelligent design was not going to be

4 mentioned.

SQ Would you have voted for a change im which

6 intelligent design would have beca mentioned?

7 MR. WHITE: Can you clarify what you mem by,
8 “mentioned”?

9 BY MR. LOWE:

10 Q._- be which intelligent design would have been
11 incladed im the anriculim? ~~
12. A. Truthfally, I don't know what intelligent design —
13 what theory that would be. To me, it's some kind of a

   
  
 
  

14 scientific theory, and I don't understand it. So no, |

 

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